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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


     In re:                                                  Chapter 11

     UNCONDITIONAL LOVE INC., et al., 1                      Case No. 23-11759 (MFW)

                                Debtors.                     (Jointly Administered)


                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                      HEARING ON DECEMBER 11, 2023 AT 3:00 P.M. (ET)


                                          ZOOM INSTRUCTIONS:

        This hearing will be conducted entirely over Zoom and requires all participants
     to register in advance. COURTCALL WILL NOT BE USED FOR THIS HEARING.

                     Please use the following link to register for this hearing:
     https://debuscourts.zoomgov.com/meeting/register/vJItc-ivrzIoHgrusAaB6-FVInpfCj7cJxA

                  After registering your appearance by Zoom, you will receive a
               confirmation email containing information about joining the hearing.


RESOLVED MATTER

1.        Motion of Debtors for Entry of an Order Extending Time to File Schedules of Assets and
          Liabilities and Statements of Financial Affairs [D.I. 156; 11/20/23]

          Related Pleadings:

                   a)       Certificate of No Objection [D.I. 195; 12/5/23]

                   b)       Order Extending Time to File Schedules of Assets and Liabilities and
                            Statements of Financial Affairs [D.I. 196; 12/6/23]

          Objection Deadline:                December 4, 2023 at 4:00 p.m. (ET)


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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
      Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd, Suite B200,
      Pacific Palisades, CA 90272.
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     Objections/Informal Responses:       None.

     Status:        An order has been entered by the Court. No hearing is necessary.

MATTER GOING FORWARD

2.   Motion of the Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for the
     Sale of Substantially All of the Debtors Assets, (B) Authorizing the Debtors to Enter Into
     the Stalking Horse APA and to Provide the Stalking Horse Bid Protections Thereunder,
     (C) Scheduling an Auction and a Sale Hearing and Approving the Form and Manner of
     Notice Thereof, (D) Approving Assumption Procedures, and (E) Granting Related Relief;
     and (II) (A) Approving the Sale of the Debtors Assets Free and Clear of Liens, Claims,
     Interests, and Encumbrances, (B) Approving the Assumption and Assignment of Executory
     Contracts and Unexpired Leases, and (C) Granting Related Relief [D.I. 17; 10/23/23]

     Related Pleadings:

               a)   Notice of Hearing [D.I. 58; 10/24/23]

               b)   Declaration of Robert J. White in Support of Motion of the Debtors for
                    Entry of Orders (I) (A) Approving Bidding Procedures for the Sale of
                    Substantially All of the Debtors Assets, (B) Authorizing the Debtors to
                    Enter Into the Stalking Horse APA and to Provide the Stalking Horse Bid
                    Protections Thereunder, (C) Scheduling an Auction and a Sale Hearing and
                    Approving the Form and Manner of Notice Thereof, (D) Approving
                    Assumption Procedures, and (E) Granting Related Relief; and (II) (A)
                    Approving the Sale of the Debtors Assets Free and Clear of Liens, Claims,
                    Interests, and Encumbrances, (B) Approving the Assumption and
                    Assignment of Executory Contracts and Unexpired Leases, and (C)
                    Granting Related Relief [D.I. 102; 11/14/23]

               c)   Order (I) (A) Approving Bidding Procedures for the Sale of Substantially
                    All of the Debtors Assets, (B) Authorizing the Debtors to Enter Into the
                    Stalking Horse APA and to Provide the Stalking Horse Bid Protections
                    Thereunder, (C) Scheduling an Auction and a Sale Hearing and Approving
                    the Form and Manner of Notice Thereof, (D) Approving Assumption
                    Procedures, and (E) Granting Related Relief; and (II) (A) Approving the
                    Sale of the Debtors Assets Free and Clear of Liens, Claims, Interests, and
                    Encumbrances, (B) Approving the Assumption and Assignment of
                    Executory Contracts and Unexpired Leases, and (C) Granting Related
                    Relief [D.I. 153; 11/20/23]

               d)   Notice of Proposed Sale of Assets, Bidding Procedures, Auction, and Sale
                    Hearing [D.I. 159; 11/20/23]




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       e)     Notice of Possible Assumption and Assignment and Cure Amounts with
              Respect to Executory Contracts and Unexpired Leases of the Debtors [D.I.
              160; 11/21/23]

       f)     Supplemental Notice of Possible Assumption and Assignment and Cure
              Amounts with Respect to Executory Contracts and Unexpired Leases of the
              Debtors [D.I. 166; 11/25/23]

       g)     Affidavit of Publication of Notice of Sale Hearing in The New York Times
              (National Edition) [D.I. 169; 11/27/23]

       h)     Notice of Cancellation of Auction [D.I. 186; 12/1/23]

       i)     Declaration of Robert White in Support of Order (A) Approving the Sale of
              the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and
              Encumbrances (B) Approving the Assumption and Assignment of
              Executory Contracts and Unexpired Leases, and (C) Granting Related
              Relief [D.I. 204; 12/6/23]

       j)     Declaration of Wael Fayad in Support of Sale Motion [D.I. 213; 12/7/23]

       k)     Notice of Filing of Proposed Sale Order [D.I. 214; 12/7/23]

       l)     Notice of Filing of Blackline of Revised Stalking Horse Purchase
              Agreement [D.I. 215; 12/7/23]

Sale Objection Deadline:    December 6, 2023 at 4:00 p.m. (ET)

Sale Objections/Informal Responses:

       m)     Informal response from CIT Northbridge Credit LLC

       n)     Informal response from the Official Committee of Unsecured Creditors

Cure Objection Deadline:    December 6, 2023 at 4:00 p.m. (ET) [Supplemental
                            Objection Deadline is December 9, 2023 at 4:00 p.m. (ET)]

Cure Objections/Informal Responses:

       o)     Domtar Paper Company LLC’s Objection and Reservation of Rights with
              Respect to Notice of Possible Assumption and Assignment and Cure
              Amounts with Respect to Executory Contracts and Unexpired Leases of the
              Debtors [D.I. 191; 12/4/23]

       p)     Limited Objection and Reservation of Rights of Google LLC to the
              Potential Assumption of Executory Contracts [D.I. 197; 12/6/23]



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          q)   Objection of 36th Street Capital Partners, LLC to Notice of Possible
               Assumption and Assignment and Cure Amounts with Respect to Executory
               Contracts and Unexpired Leases of the Debtors [D.I. 198; 12/6/23]

          r)   SCG Capital Corporation’s Objection to Debtors’ Schedule of Cure
               Amounts [D.I. 199; 12/6/23]

          s)   CSC Leasing Co.’s Objection to Proposed Cure Amount [D.I. 200; 12/6/23]

          t)   Objection and Reservation of Rights of FlexLink Systems Inc. with Respect
               to Notice of Possible Assumption and Assignment and Cure Amounts with
               Respect to Executory Contracts and Unexpired Leases of the Debtors [D.I.
               201; 12/6/23]

          u)   Objection and Reservation of Rights of United Parcel Service, Inc. to Notice
               of Possible Assumption and Assignment and Cure Amounts with Respect
               to Executory Contracts and Unexpired Leases of the Debtors [D.I. 202;
               12/6/23]

          v)   Informal Response from Turnkey Technologies Inc.

          w)   Informal Response from AES Logistics, Inc.

          x)   Informal Response from Reliant Energy Retail Services LLC

          y)   Informal Response from Recharge

          z)   Informal Response from Gross RE

Status:        The Debtors expect to file the proposed Sale Order under certification of
               counsel in advance of the hearing. With respect to the responses listed at
               Items. (o) through (z), the Debtors continue to engage in discussions related
               to the responses and anticipate filing an amended agenda reflecting any
               resolutions in advance of the hearing.


                             [Signature page follows]




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Dated: December 7, 2023
       Wilmington, Delaware

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                                LLP

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